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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         Case No. 13-61163-CIV-ROSENBAUM/HUNT


  ROMAIN MOISE,

         Plaintiff,

  v.

  MEDICREDIT, INC.,

        Defendant.
  ____________________/

                                FINAL ORDER OF DISMISSAL

         This cause is before the Court upon the parties Stipulation for Joint Dismissal with

  Prejudice [D.E. 13], The Court has been advised that all claims and causes of action between or

  among the parties have been amicably resolved, it is hereby,

         ORDERED AND ADJUDGED that the above-captioned case is DISMISSED WITH

  PREJUDICE, with each party to bear its own costs and fees except as otherwise agreed by the

  parties. All pending motions are DENIED AS MOOT. The Clerk shall CLOSE this case.

          DONE AND ORDERED in the Southern District of Florida this 26th day of

  August 2013.



                                           _____________________________________
                                              Robin S. Rosenbaum
                                              United States District Judge


  cc:    Donald A. Yarbrough, Esq., Counsel for Plaintiff
         Elizabeth M. Bohn, Esq., Counsel for Defendant
